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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                       )   CASE NO. 1:24-cr-180
                                                 )
                                 Plaintiff,      )   JUDGE CHARLES E. FLEMING
                                                 )
 v.                                              )
                                                 )   ORDER ACCEPTING PLEA,
 DONALD G. GREENE, II,                           )   JUDGMENT, AND REFERRAL TO U.S.
                                                 )   PROBATION OFFICE
                                 Defendant.      )
                                                 )

          This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Jonathan D. Greenberg recommending that the Court accept Defendant’s guilty

plea and enter a finding of guilty. (ECF No. 9). This matter was previously referred to the

Magistrate Judge with the consent of the parties. (ECF Nos. 2, 5).

          On May 29, 2024, the government issued an information that charged Defendant with one

count of operating an unlicensed money transmitting business, in violation of 18 U.S.C. §§ 1960(a)

and (b)(1)(B). (ECF No. 1). Defendant subsequently waived his right to prosecution by indictment

and consented to prosecution by information. (ECF No. 6).

          On June 11, 2024, Magistrate Judge Greenberg held a change of plea hearing, during which

the Defendant entered a plea of guilty to the information. (ECF dkt. entry dated June 11, 2024).

On the same date, Magistrate Judge Greenberg issued a Report and Recommendation (“R&R”)

recommending that the Court accept Defendant’s guilty plea and enter a finding of guilty. (ECF

No. 9).

          Any objections to the R&R were due on June 25, 2024. (Id. at PageID #38). Neither party

submitted any objections.

          On review of the record, the Court adopts the R&R. Defendant Greene is found to be

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competent to enter a plea and to understand his constitutional rights. He is aware of the charges

and of the consequences of entering a guilty plea. He is also aware of the trial rights he

waives/gives up by pleading guilty. There is an adequate factual basis for the plea. The Court

finds the plea was entered knowingly, intelligently, and voluntarily. The plea is accepted.

       Therefore, Defendant Greene is adjudged guilty of Count 1 of the Information, in violation

of 18 U.S.C. §§ 1960(a) and (b)(1)(B). This matter was referred to the U.S. Probation Office for

the completion of a presentence investigation and report. Sentencing will be held on September

9, 2024 at 10:00 a.m. in Courtroom 17A.

    IT IS SO ORDERED.

Date: June 26, 2024

                                                     __________________________________
                                                     CHARLES E. FLEMING
                                                     UNITED STATES DISTRICT JUDGE




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